                                                                                          Electronically Filed
    Case 4:22-cv-03279 Document 1-10 Filed on 09/23/22 in TXSD Page 1 of 13               9/22/2022 7:43 AM
                                                                                               Laura Richard
                                                                                                County Clerk
                                                                                    Fort Bend County, Texas



            Lewis Brisbois Bisgaard & Smith, LLP
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                               Mediations & Arbitrations
Michael Joseph Bitgood                                         Susan Cecilia Norman
a/k/a/ “Michael Easton”                                    Attorney & Counselor at Law
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______________________________________________________________________________
                                 NO. 22-CCV-070378

RICHARD P. JONES,                          §          IN THE COUNTY COURT
MICHAEL JOSEPH BITGOOD                     §
A/K/A/ “Michael Easton”, and               §
LEWIS, BRISBOIS, BISGAARD &                §
SMITH LLP                                  §
              Plaintiffs                   §
                                           §
VS.                                        §         AT LAW NO. THREE (3) OF
                                           §
KARINA MARTINEZ,                           §
MARIANNA SULLIVAN,                         §
IMPERIAL LOFTS, LLC,
IMPERIAL LOFTS OWNER LLC         §
DAVID OUBRE,                     §
LEWIS, BRISBOIS, BISGAARD &
SMITH LLP, a California Foreign LLP

              Defendants                         FORT BEND COUNTY, TEXAS

   PLAINTIFF’S “SOFT” OBJECTIONS/MOTION TO STRIKE
                    DEFENDANT’S
          “ORIGINAL” ANSWER FILED ON 9/21/2022

TO THE HONORABLE JUDGE OF SAID COURT:




                                                              EXHIBIT 10
     Case 4:22-cv-03279 Document 1-10 Filed on 09/23/22 in TXSD Page 2 of 13




1.      Defendants’ Imperial Lofts LLC, Imperial Lofts owner LLC, Karina

Martinez, and, Madam Marianna Sullivan, all purported to file an

“original” answer replete with affirmative defenses on September 21st

2022.

2.      Because the law does not allow an answer, or any other pleading to

be filed over the judicial actions taken in this case, namely, the striking

of all the defendant’s pleadings,1 Plaintiffs lodge this “soft” objection to

that filing, and move to strike the so- called “original” answer .2




        1

Defendants’ presently sit in default status by operation of law. Although the
court interliniated the sentence pronouncing the default at the request of David
Oubre, Oubre lodged no other objections to the order the Court signed on
September 13th 2022. This was folly on Oubre’s part, in that any skilled lawyer
knew, or should have known, that the striking of all the pleadings results in an
automatic default by operation of law. Oubre’s concern on September 13th 2022
was not in protecting his clients; his only concern was in protecting himself and
his law-firm, as evidenced by their bizarre and “bi-polar” attempt to take up an
appeal to the referring court of the same actions they asked the Court to take,
and of the same orders that they approved.
        2

Defendants now have extremely competent counsel in this case in the person of
Will Moye, from the law-firm of Thompson Coe, and have shed the gross
incompetence of David Oubre, and the California Foreign LLP, that the Court
rightfully ejected from this case. That being said, the filing by Moye is a smart
strategic move, that if left unchallenged, will result in waiver. Thus, a “soft”
objection is made so that no waiver takes place, albeit the Court is not asked to
take action on it at this time.

                                        2
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                      Respectfully submitted,

/s/Michael Joseph Bitgood                /s/ Susan C. Norman
a/k/a/ Michael Easton                    Susan C. Norman,
503 FM 359, Suite 130-216                SBOT 15083020
Richmond, Texas 77406                    P. O. Box 55585
d/b/a/ “Michael Easton”                  Houston, Texas 77255
281-415-8655                             713-882-2066
EastProLaw@msn.com                       281-402-3682 Fax
                                         SueNorman@SueNormanLaw.com
                                         Counsel for Richard P. Jones &
                                         Lewis Brisbois Bisgaard & Smith
                                         LLP, a Texas Domestic LLP.




                   CERTIFICATE OF SERVICE

     On this the 22nd day of September, 2022, I certify that I served a
true and correct copy of this instrument on all named parties via the
Texas e-file system.

                                              /s/ Michael Easton




                                     3
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Michael Easton on behalf of Susan Norman
Bar No. 15083020
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Status as of 9/22/2022 8:48 AM CST
Associated Case Party: RichardPJones
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Susan CNorman               SueNorman@SueNormanLaw.com   9/22/2022 7:43:09 AM   SENT
          Case 4:22-cv-03279 Document 1-10 Filed on 09/23/22 in TXSD Page 5 of 13



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Michael Easton                EastProLaw@msn.com      9/22/2022 7:43:09 AM    SENT
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Kathy Truong                     Kathy.Truong@lewisbrisbois.com   9/22/2022 7:43:09 AM   SENT
David Oubre                      David.Oubre@lewisbrisbois.com    9/22/2022 7:43:09 AM   SENT
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Status as of 9/22/2022 8:48 AM CST
Associated Case Party: Karina Martinez
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William Moye                     wmoye.service@thompsoncoe.com   9/22/2022 7:43:09 AM   SENT
Samantha De Hoyos                sdehoyos@thompsoncoe.com        9/22/2022 7:43:09 AM   SENT
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Michael Easton on behalf of Susan Norman
Bar No. 15083020
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Status as of 9/22/2022 8:48 AM CST
Associated Case Party: Imperial Lofts LLC
Name                BarNumber   Email                       TimestampSubmitted     Status
Karina Martinez                 ImperialAsst@nolanred.com   9/22/2022 7:43:09 AM   SENT
Marianna Sullivan               imperialgm@nolanRed.com     9/22/2022 7:43:09 AM   SENT
William Moye                    wmoye@ThompsonCoe.com       9/22/2022 7:43:09 AM   SENT
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Brad BBeers                      BBeers@BeersLaw.net          9/22/2022 7:43:09 AM   SENT
Richard PJones                   DickeyJones365@gmail.com     9/22/2022 7:43:09 AM   SENT
John FHealey                     JHealeyDA@aol.com            9/22/2022 7:43:09 AM   SENT
Holly GailCrampton               Holly@HollyCramptonLaw.com   9/22/2022 7:43:09 AM   SENT
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Status as of 9/22/2022 8:48 AM CST
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EastProLaw@outlook.com
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Name                  BarNumber   Email                              TimestampSubmitted     Status
Bennett Fisher                    Bennett.Fisher@lewisbrisbois.com   9/22/2022 7:43:09 AM   SENT
SEAN O'Neal Braun                 sean.braun@lewisbrisbois.com       9/22/2022 7:43:09 AM   SENT
Bill Helfand                      bill.helfand@lewisbrisbois.com     9/22/2022 7:43:09 AM   SENT
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